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     Lewicke  v.  People No. 24SC390Supreme Court of ColoradoDecember 23, 2024
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;HELD
      PETITIONS FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Held
      pending 23SC168, Tennyson v. People; 23SC775,
      Snow v. People; 23SC525, Johnson v. People;
      23SC583 Babcock v. People
    